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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION


UNITED STATES OF AMERICA,                     CR 18-123-BLG-SPW

                  Plaintiff,
                                              ORDER VACATING
vs.                                           DETENTION HEARING

TIANNA MARIE PANTALION,

                  Defendant.


      Defendant has filed Unopposed Motion to Vacate Detention Hearing. (Doc.

17.) Accordingly, IT IS ORDERED that the Detention Hearing presently

scheduled for Tuesday, November 13, 2018, at 2:30 p.m. is VACATED.

      DATED this 8th day of November, 2018.

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                                   TIMOTHY J. CAVAN
                                   United States Magistrate Judge
